541 U.S. 1062
    GRANHOLM, GOVERNOR OF MICHIGAN, ET AL.v.HEALD ET AL.
    No. 03-1116.
    Supreme Court of United States.
    May 24, 2004.
    
      1
      C. A. 6th Cir. Certiorari granted limited to the following question: "Does a State's regulatory scheme that permits in-state wineries directly to ship alcohol to consumers but restricts the ability of out-of-state wineries to do so violate the dormant Commerce Clause in light of § 2 of the Twenty-first Amendment?" Cases consolidated, and a total of one hour allotted for oral argument. Reported below: Nos. 03-1116 and 03-1120, 342 F. 3d 517; No. 03-1274, 358 F. 3d 223.
    
    